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 Robert W. Sadowski, Esq.
 SADOWSKI FISCHER PLLC
 39 Broadway, Suite 1540
 New York, New York 10006
 Tel. No.: (212) 913-9678
 Attorneys for Relator Orlando Lee

 Noah Kinigstein, Esq.
 315 Broadway, Suite 200
 New York, New York 10007
 Tel. No.: (212) 285-9300
 Attorney for Relator Melville Luckie

 -and-

 Petro Zinkovetsky, Esq.
 432 Park Avenue South
 10th Floor
 New York, New York 10016
 Tel. No.: (212) 729-4090
 Attorney for Relator Luz Gonzalez
 Of counsel for the brief



 UNITED STATES DISTRICT COURT FOR THE
 EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------
 UNITED STATES OF AMERICA and
 NEW YORK STATE ex rel. ORLANDO LEE,
 MELVILLE LUCKIE and LUZ GONZALEZ,

                                      Plaintiffs/Relators,
                                                                   NOTICE OF MOTION
                   - against-                                      Civ. No. CV 13-4933 (MKB)

 NORTHERN ADULT DAILY HEALTH CARE
 CENTER and GALENA DEVERMAN,

                                      Defendants.


         PLEASE TAKE NOTICE that upon the attached memorandum oflaw and declaration of

Robert W. Sadowski, Plaintiffs/Relators will move this Court, Judge Margo K. Brodie, 225
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Cadman Plaza East, Brooklyn, New York 11201 at Courtroom 6F, on a day to be determined by

this Court, granting PlaintiffslRelators'   an alternate remedies award pursuant to 31 U.S.C. §

3730(d), the Federal False Claims Act, and New York State Finance Law § 190(5)(c), the New

York False Claims Act.

Dated: New York, New York
       July 27,2015
                                                             SADOWSKI FISCHER PLLC
                                                             Attorneys for the United States of America
                                                             ex rel. Orlando Lee
                                                       By:
                                                             IslRobert W. Sadowski
                                                             Robert W. Sadowski
                                                             39 Broadway
                                                             Suite 1540
                                                             New York, New York 10006
                                                             212913 9678
                                                             rsadowski@sflawgroup.com


                                                             NOAH KINIGSTEIN, ESQ.
                                                             Attorneys for the United States of America
                                                             ex rel. Melville Luckie

                                                             lsi Noah Kinigstein
                                                             315 Broadway, Suite 200
                                                             New York, New York 10007
                                                             Tel. No.: (212) 285-9300

                                                             -and-

                                                             PETRO ZINKOVETSKY, ESQ.
                                                             Attorneys for the United States of America
                                                             ex rel. Luz Gonzalez
                                                             Of counselfor the brief

                                                             IslPetro Zinkovetsky
                                                             432 Park Avenue South
                                                             10th Floor
                                                             New York, New York 10016
                                                             Tel. No.: (212) 729-4090




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TO:
Kenneth M. Abell, Esq.
Assistant United States Attorney
United States Attorney for the
Eastern District of New York
61 0 Federal Plaza
Central Islip, New York 11722

Attorney General
Civil Division
United States Department of Justice
950 Pennsylvania Avenue, NW
Washington, D.C. 20530-0001

Jill Diane Brenner, Esq.
New York State Attorney General
Medicaid Fraud Control Unit
120 Broadway
New York, New York 10006

Frank Anthony Hess, Esq.
Peckar & Abramson, PC
70 Grand Avenue
River Edge, New Jersey 07661




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